

People v Sostre (2023 NY Slip Op 00380)





People v Sostre


2023 NY Slip Op 00380


Decided on January 26, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 26, 2023

Before: Friedman, J.P., Moulton, Kennedy, Pitt-Burke, JJ. 


SCI No. 234/14 Appeal No. 17190 Case No. 2014-2965 

[*1]The People of the State of New York, Respondent,
vMargarita Sostre, Defendant-Appellant.


Justine M. Luongo, The Legal Aid Society, New York (Paul Wiener of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Emily A. Aldridge of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Nicholas J. Iacovetta, J.), rendered March 3, 2014, convicting defendant, upon her plea of guilty, of criminal sale of a controlled substance in the third degree, and sentencing her to a term of one year, unanimously affirmed.
The record as a whole establishes the voluntariness of the plea (see People v Conceicao, 26 NY3d 375, 379 [2015]). A court's omission of the word "jury" in discussing a defendant's right to a trial does not, by itself, vitiate the validity of a guilty plea (see e.g. People v Ayala, 156 AD3d 547 [2017]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 26, 2023








